
By order of November 23, 2016, the application for leave to appeal the March 22, 2016 order of the Court of Appeals was held in abeyance pending the decisions in People v. Steanhouse (Docket No. 152849) and People v. Masroor (Docket Nos. 152946-8). On order of the Court, the cases having been decided on July 24, 2017, 500 Mich. 453, 902 N.W.2d 327 (2017), the application is again considered and, it appearing to this Court that the case of People v. Ames (Docket No. 156077) is pending on appeal before this Court and that the decision in that case may resolve an issue raised in the present application for leave to appeal, we ORDER that the *686application be held in ABEYANCE pending the decision in that case.
